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UNITED STATES D]S'l`RlC(l` COURT
EAS"I`ERN DISTRICT ()F KENTUCKY

 

STEVEN KRENTZ
Plaintiff,

vs. Civii Action No.

.lAVITCH, BLOCK & RATHBONE, l,LC
Defendant,

`_/\_/\_/\_./\~,_/\'./\../\-,/\_./\_»f\_/

 

COMPLAINT AND DEMAND FOR JURY TRIAL
STEVEN KREN'I`Z, ("Plaintifl"’), through the undersigned counsel` LAW OFFICES OF
JOHN FOOTE. alleges the following against JAV!TCH`, BLOCK & RATHBONE, LLC,

(““Dat`eridant”):

INTRODUCTION
1. This is an action for actual and statutory damages brought by Plaintiff, Staven
Krezitz, an individual consumer, against l)e‘fendant_ Javitch, Block & Rathbone. LLC, for
violations of the Fair Debt Collection Practices Act, l5 U.S.C. § 1692 et seq. (hereirlafter
“”FDCPA"}, Which prohibits debt collectors from engaging in abusive, deceptive, and unfair
practices
}URISDICTION
2. lurisdiction oi`this Couit arises under 15 U.S.C. § I692k(d) and 28 U.S.C. § 1337.
Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202. Vanue in this District is

proper in that the Defendant transacts business here.

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PARTIES

3. Plaintiff, Steven Krentz, is a natural person With a permanent residence in
Erlanger, Kenton County Kentucky 4lOl 8,

4. Upon information and belief the Det`endant, Javitcb_, Block & Rat‘nbone, LLC, is
a corporation engaged in the business of collecting debt in this state and in several other states,
With its principal place ot` business in this District located at llOO Superior Ave, lQTh Floor
Clevcland, Cuyahoga County, Ohio, 441 l4. 'l`he principal purpose of Defendant is the collection
oi"` debts in this state and several other states, and Det`endant regularly attempts to collect debts
alleged to be due another.

5. Det`endant is engaged in the collection of debts from consumers using the mail
and telephone Det`endant regularly attempts to collect consumer debts alleged to be due to
another. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. § i692a(6).

FACTUAL ALLEGATIONS

é. Tbe debt l_')et`endant is attempting to collect on is an alleged obligation of a
consumer to pay money arising out ot` a transaction in Which the money. property. insurance or
services which are the subject o'l` the transaction are primarily for personal, family, or household
purposes whether or not such obligation has been reduced to judgment

7. Within one (l) year preceding the date of this Complaint, i)efendant, in
connection with the collection of the alleged debt, stated to Plaintiff, ‘°We can put a lien on your
vehicle."

8, Defendant has no standing to to place a lien on behalf of the creditor.

i\.)

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9. Defendant is a debt collection company and as a debt collection company
attempting to collection a private loan` Det`endant can only refer the matter back to the creditor
with a recommendation that the creditor pursue a lien.

lO. rl`he representations made to Plaintifl` by Defendant regarding lein were false

l l. Within one (l) year preceding the date of this Cornplaint, Defendant, in
connection with the collection of the alleged debt, stated to Plaintiff, "We will garnish up to 25%

of your wages.”

ll Dei`endant has no standing to commence garnishment proceedings on behalf of
the creditor.
13. Det`endant is a debt collection company and as a debt collection company

attempting to collection a private loan, Defendant can only refer the matter back to the creditor
with a recommendation that purse legal action to obtain garnishment

14. The representations made to Plainti'l`f by Defendant regarding garnishment were
false.

lS. The natural consequences of Del`endant”s statements was to unjustly condemn and
vilil`y Plaintii"f l"or his non-payment ol" the debt he allegedly owed

lo. The natural consequences of Der`endant`s statements Was to produce an
unpleasant and/or hostile situation between Defendant and Plaintifl`.

l'i'. The natural consequences ot` Del`endant’s statements was to cause Plaintift` mental

distress

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CLAll\/l FOR RELIEF

18. Plaintil"l` repeats and realleges and incorporates by reference to the foregoing
paragraphs
19. Defendants violated the FDCPA. i)efendants’ violations include. but are not

limited to, the following:

(a) Defendant violated §i'd£l,.?rl of the l~`DCPA by engaging in conduct the natural
consequences of which is to harass oppress, or abuse any person in
connection with the collection of an alleged debt; and

(b) Defendant violated §]692¢1?(2) of the FDCPA by using obscene or profane
language or language the natural consequences of which is to abuse the hear
or reader in connection with the collection of an alleged debt; and

(_c) Defendant violated §]692e of the FDCPA by using a false, deceptive or
misleading representation or means in connection with the collection of the
alleged debt; and

(d) Defendant violated § 1692e(4) of the FDCPA by giving the false
representation or implication that nonpayment of the alleged debt will result in
the garnishment of wages of any person when such action is unlawful and the
Dcfendant does not intend to tal<e such action; and

(e) Defendant violated _§/692€(5) ot`tbe FDC.PA by threatening to take action that
the Det`endant does not intend to take and/or the Defendant cannot legally
take; and

(l') Det`endant violated §1692€(] ()) of the FDCPA by using false representation or
deceptive means in connection with the collection the alleged debt; and

(g) Defendant violated §`1692f`ot` the FDCPA by using unfair or unconscionable
means in connection with the collection of an alleged debt

20. Defendant`s acts as described above were done intentionally with the purpose of

coercing Plaintiff to pay the alleged debt.

 

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2l.

As a result oi" the foregoing violations of the FDCPA, Defendant is liable to the

Plaintil"i", Steven Krentz, for declaratory judgment that Defendant’s conduct violated the FDCPA,

actual damages, statutory damages and costs and attorney i`ees.

WHEREFORE. Plaintii`t` respectfully requests thatjudgrnent be entered against

Dei`endant. Javitcli, Blocl< & Rathbone, LLC, for the following'.

A.

B.

C.

D.

,
131
s.

Declaratory judgment that Defendant’s conduct violated the FDCPA.
Actual damages

Statutory damages pursuant to 15 U.S.C- § l692k,

Costs and reasonable attorney fees pursuant to 15 U.S.C, § 1692k.

Awarding Plaintift` any pre~j udgrnent and post~judgrnent interest as may l)e
allowed under the iaw.

For such other and further relief as the Court may deem just and proper.

DEMAND POR JURY TRIAL

PLEASE TAKE NOTICE that Plainti;l`i", STEVEN KRENTZ. demands trial by jury in

this action

this 3"§ day Qi‘ocmbei; 201 i.

Oi"Counsel to:

LAW OFFICE OF IOHN FOOTE

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